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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



  GANNETT SATELLITE INFORMATION
  NETWORK,

                   Plaintiff,                                       Case No. 22-cv-475-BAH


         v.


  U.S. DEPARTMENT OF JUSTICE,

                   Defendant.


                                    JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of May 16, 2023, the parties, having conferred,

jointly submit the following update on the status of this matter.

       The parties are continuing to work together to determine the method for processing

potentially responsive records, and to determine whether they can reach agreement on any

remaining potential redactions without further litigation. Defendant is also continuing to evaluate

its options in light of the Court’s Order of March 29, 2023, ECF 20, including to seek

reconsideration.

       Accordingly, the parties respectfully request that they be allowed to submit a further joint

status report on or before July 14, 2023.



Dated: June 12, 2023                                  Respectfully submitted,


                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General
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                                  Assistant Branch Director

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